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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofCalifornia
                                                                      __________


                           Jane Doe                            )
                             Plaintiff                         )
                                v.                             )      Case No.     3:22-cv-05179-AGT
        City and County of San Francisco, et al.               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Jane Doe                                                                                           .


Date:          09/12/2022                                                               /s/ Patrick Buelna
                                                                                         Attorney’s signature


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